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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
 U.S. Attorney’s Office
 601 D Street, NW
 Washington, DC 20530

                  Plaintiff,

        v.

 LAURA G. ROSS,
 401 Ninth Street, NW
 Washington, DC 20004,
                                                          Civil Action No. 25-2261
 THOMAS E. ROTHMAN,
 401 Ninth Street, NW
 Washington, DC 20004,

        - and -

 DIANE KAPLAN,
 401 Ninth Street, NW
 Washington, DC 20004,

                  Defendants.


                                         COMPLAINT

       The United States of America (the “United States”), by and through undersigned counsel,

brings this complaint and alleges as follows.

       1.      Since April 28, 2025, Defendants Laura G. Ross, Thomas E. Rothman, and Diane

Kaplan have been usurping and purporting to exercise unlawfully the office of board member of

the Corporation for Public Broadcasting (the “CPB”). The United States now brings this quo

warranto action to oust them from that office.

       2.      President Donald J. Trump lawfully removed each Defendant from office on April

28, 2025. As recent Supreme Court orders have recognized, the President cannot meaningfully
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exercise his executive power under Article II of the Constitution without the power to select—and,

when necessary, remove—those who hold federal office. Personnel is policy, after all.

       3.      In this instance, Defendants immediately sued the President and others in this Court

and sought a preliminary injunction that would have enjoined the government from giving effect

to their removal, see Compl., Corp. for Pub. Broad. v. Trump, Civ. A. No. 25-1305 (RDM) (D.D.C.

Apr. 29, 2025) (“CPB v. Trump”), ECF No. 1; Mot. for TRO, CPB v. Trump, ECF No. 2. But the

Court properly denied that motion, holding among other things that Defendants here (i.e., plaintiffs

in CPB v. Trump) were not likely to succeed in their claim that the President lacked the authority

to remove them. Mem. Op. & Order at 13-21, CPB v. Trump, ECF No. 32.

       4.      Despite the Court’s denial of their request for preliminary relief, Defendants have

continued to usurp the office of board member of the CPB, including by participating in board

meetings, voting on resolutions and other business that comes before the board, and presenting

themselves to the public as board members. All of this is manifestly unlawful.

       5.      In short, Defendants are defiantly acting as if the Court granted the relief the Court

denied—raising the question of why they bothered to seek preliminary relief and consume the

resources of the Court and the parties if they were simply going to ignore any adverse ruling.

       6.      The United States cannot just stand by when lawful orders—both executive and

judicial—are so openly flouted. The writ of quo warranto, codified by statute in the District of

Columbia, provides a remedy against Defendants’ usurpation. Accordingly, the United States,

through the United States Attorney, brings this action for quo warranto to oust and exclude

Defendants from their usurped offices, and for appropriate related relief.

                                JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this action under 28 U.S.C. § 1331, 28 U.S.C.

§ 1345, and D.C. Code § 16-3501.


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       8.      Venue is proper in this judicial district under D.C. Code § 16-3501 and 28 U.S.C.

§ 1391(b), because a substantial part of the events giving rise to the claim occurred in the District

of Columbia.

                                              PARTIES

       9.      Plaintiff is the federal government of the United States of America. Pursuant to

D.C. Code § 16-3501 and § 16-3502, the Attorney General of the United States or the United States

Attorney may institute a quo warranto proceeding for the United States against a person who within

the District of Columbia usurps, intrudes into, or unlawfully holds or exercises a public office of

the United States.

       10.     Defendant Laura G. Ross was a member of the Board of Directors of the CPB until

the President removed her from that office on April 28, 2025. She is continuing to usurp that

office. The CPB is a District of Columbia corporation with its corporate address at 401 Ninth

Street, NW, Washington, DC. Accordingly, the office that Ross has usurped and intruded into is

located within the District of Columbia.

       11.     Defendant Thomas E. Rothman was a member of the Board of Directors of the CPB

until the President removed him from that office on April 28, 2025. He is continuing to usurp that

office. The CPB is a District of Columbia corporation with its corporate address at 401 Ninth

Street, NW, Washington, DC. Accordingly, the office that Rothman has usurped and intruded into

is located within the District of Columbia.

       12.     Defendant Diane Kaplan was a member of the Board of Directors of the CPB until

the President removed her from that office on April 28, 2025. She is continuing to usurp that

office. The CPB is a District of Columbia corporation with its corporate address at 401 Ninth

Street, NW, Washington, DC. Accordingly, the office that Kaplan has usurped and intruded into

is located within the District of Columbia.


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                                    NATURE OF THE CASE

I.     The Corporation for Public Broadcasting

       13.     The CPB is a corporation created by Congress that advances governmental

purposes subject to statutory restrictions by deploying appropriated taxpayer dollars. The CPB is

overseen by a board consisting solely of Senate-confirmed Presidential appointees.

       14.     Congress created the CPB in the Public Broadcasting Act of 1967 (the “Act”). Pub.

L. No. 90-129, 81 Stat. 365, codified at 47 U.S.C. § 390–399b. Congress determined that the CPB

would advance various governmental purposes, including serving the “public interest” by

“encourag[ing] the growth and development of public radio and television broadcasting” and

“nonbroadcast telecommunications technologies for the delivery of public telecommunications

services.” 47 U.S.C. § 396(a)(1), (2); see also, e.g., id. § 396(a)(4) (“the encouragement and

support of public telecommunications . . . are . . . of appropriate and important concern to the

Federal Government”); id. § 396(a)(9) (“it is in the public interest for the Federal Government to

ensure that all citizens of the United States have access to public telecommunications services

through all appropriate available telecommunications distribution technologies”).         The CPB

advances these purposes primarily by using appropriated taxpayer funds, drawn from an

established Public Broadcasting Fund administered by the Secretary of the Treasury, to issue

grants supporting public broadcasting, in a manner prescribed in detail by statute. See id. § 396(k).

       15.     The CPB is governed by a “Board of Directors,” which, when fully staffed,

“consist[s] of 9 members appointed by the President, by and with the advice and consent of the

Senate.” Id. § 396(c)(1). The Act provides that “[t]he term of office of each member of the Board

appointed by the President shall be 6 years.” Id. § 396(c)(5). The Act contains no explicit

provision protecting board members from removal, such as a for-cause removal restriction. The

only provision explicitly discussing how board members could lose their seats during their term


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states that board members who fail to attend fifty percent of board meetings in a calendar year

“shall forfeit membership and the President shall appoint a new member to fill such vacancy not

later than 30 days after such vacancy is determined by the Chairman of the Board.” Id. § 396(c)(7).

       16.     The statute also states that the CPB is subject to D.C. Nonprofit Corporation Act

“to the extent consistent with this section [47 U.S.C. § 396].” See id. § 396(b). The District of

Columbia Nonprofit Corporation Act, in turn, creates a default rule that the power to remove board

members at will is incident to the power of appointment: “Except as otherwise provided in the

articles of incorporation or bylaws, a director who is appointed by persons other than the members

may be removed with or without cause by those persons.” D.C. Code § 29-406.08(e).

       17.     On April 28, 2025, when the President removed the Defendants, the CPB’s articles

of incorporation and bylaws contained no provision purporting to restrict the President’s authority

to remove board members. See By-Laws of the Corporation for Public Broadcasting, as amended

September 13, 2021 (“2021 By-Laws”), at §§ 2.01-2.02.

       18.     Although the Public Broadcasting Act provides that “[t]he members of the Board

shall not, by reason of such membership, be deemed to be officers or employees of the United

States,” 47 U.S.C. § 396(d)(2), and that the CPB “will not be an agency or establishment of the

United States Government,” id. § 396(b), the Act and other statutes provide many levers of

government control and influence over the CPB:

       •       As noted above, all CPB board members are appointed by the President and
               confirmed by the Senate. Id. § 396(c)(1).

       •       Congress set forth specific qualifications for board members, including that no
               more than 5 members will be of the same political party, that board members must
               be “eminent in” relevant fields, and that the Board contain members who represent
               licensees and permittees of public television stations and public radio stations. Id.
               § 396(c)(1)-(3).

       •       Congress restricted the compensation of CPB officers and employees based on a
               federal employee pay scale. Id. § 396(e)(1).


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•    Congress authorized the CPB to take various actions “[i]n order to achieve the
     objectives and to carry out the purposes of” the Act. Id. § 396(g); see also id.
     § 396(a) (listing those objectives and purposes). The CPB funds “public
     telecommunications . . . programs,” assists “in the development . . . of
     interconnection systems” and “public telecommunication entities.” 47 U.S.C.
     § 396(g)(1). And the CPB is empowered to make grants, hire staff, make payments,
     and to “take any other actions” necessary to support its congressional purposes. Id.
     § 396(g)(2). Congress also “prohibited” the CPB from owning or operating
     broadcast stations or producing its own programming. Id. § 396(g)(3).

•    The CPB is primarily funded through annual Congressional appropriations. Id.
     § 396(k)(1). For example, in 2024, Congress appropriated $535 million to the CPB
     for fiscal year 2026. See Further Consolidated Appropriations Act of 2024, Pub.
     L. No. 118-47, 138 Stat. 460, 696, § 407.

•    Congress sharply restricted how the CPB can use its funds, requiring it to use
     appropriated funds “solely for its grants, contracts, and administrative costs.” 47
     U.S.C. § 396(k)(2). Congress further required the CPB to establish an annual
     budget, and Congress set forth specific percentage requirements or limits for certain
     uses of funds. Id. § 396(k)(3).

•    Only a small percentage of the funds appropriated to the CPB go to funding the
     CPB itself; the vast majority are disbursed in accordance with a highly reticulated
     statutory scheme to various local and national public-radio and public-broadcasting
     entities. Id. The CPB is, in short, a statutorily created body that exists to administer
     the disbursement of appropriations in accordance with a statutory scheme.

•    Congress imposed various requirements on recipients of grants from the CPB,
     including that they hold open meetings, that public broadcast station grant
     recipients establish a community advisory board, and that employees of the Public
     Broadcasting System and National Public Radio cannot “be compensated in excess
     of reasonable compensation” while those organizations receive grants. Id.
     § 396(k)(4), (8), (9).

•    The CPB must be audited by the Government Accountability Office (“GAO”) in
     accordance with regulations promulgated by the Comptroller General, and the
     Comptroller General must report on such audits to Congress. Id. § 396(l).

•    The Act provides that nothing in the Act “shall be deemed . . . except to the extent
     authorized in subsection (b), to authorize any department, agency, officer, or
     employee of the United States to exercise any direction, supervision, or control over
     public telecommunications, or over the Corporation or any of its grantees or
     contractors, or over the charter or bylaws of the Corporation, or over the
     curriculum, program of instruction, or personnel of any educational institution,
     school system, or public telecommunications entity.” Id. § 398(a) (emphasis
     added). The referenced subsection requires the CPB to incorporate into its grant
     agreements equal employment opportunity (“EEO”) regulations promulgated by


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               the Secretary of Health and Human Services and empowers the Secretary to review
               claims of EEO violations and make final determinations on such claims. Id.
               § 398(b)(2), (3). That subsection also requires the CPB to provide an annual report
               to the Secretary of Health and Human Services. Id. § 398(b)(4).

       •       The CPB is a “designated Federal entity” under the Inspector General Act, 5 U.S.C.
               § 415(a)(1)(A), which means it has an Inspector General who conducts
               investigations and audits of CPB operations and issues reports to Congress, the CPB
               Board and management, and the public, see Office of the Inspector General,
               Corporation for Public Broadcasting, https://perma.cc/AAD4-G5DL (the CPB’s
               Office of the Inspector General “conduct[s] independent audits, evaluations, and
               investigations” and “report[s] to Congress and the public about our activities”).

       •       Congress holds oversight hearings regarding the CPB. See, e.g., House Committee
               on Energy & Commerce, Oversight and Investigations Subcommittee Hearing:
               “Examining Accusations of Ideological Bias at NPR, a Taxpayer Funded News
               Entity,” https://perma.cc/W284-W8GW (May 8, 2024).

II.    Actions for Quo Warranto

       19.     A quo warranto action is “used to inquire into the authority by which a public office

is held or a franchise is claimed.” Quo Warranto, Black’s Law Dictionary (12th ed. 2024). Quo

warranto began as a common law writ in medieval England and has been codified by statute in

many jurisdictions. See generally Paxton v. Annunciation House, Inc., No. 24-0573, 2025 WL

1536224, at *3-6 (Tex. May 30, 2025) (describing history of quo warranto).

       20.     Quo warranto actions can be used to oust individuals who wrongfully purport to

hold a public or corporate office. For example, in Springer v. Government of Philippine Islands,

277 U.S. 189 (1928), the government of the Philippines (then a United States possession) brought

quo warranto actions seeking to oust purported directors of the Philippine National Coal Company

and Philippine National Bank who had been elected by leaders of Congress; the Philippine

government argued that only the Governor General of the Philippines had authority to appoint

those directors. See id. at 197-199. The lower court ruled in favor of the Philippine government

“and entered judgments of ouster against the” purported directors, and the Supreme Court

affirmed. Id. at 200, 209.


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       21.     Congress via the D.C. Code has codified the quo warranto action by statute. D.C.

Code Judiciary and Judicial Procedure Act of 1983, Pub. L. No. 88-241, 77 Stat. 478 (Dec. 23,

1963) (codified as amended at D.C. Code §§ 16-3501–16-3548).

       22.     Under the D.C. quo warranto statute, “[a] quo warranto may be issued from the

United States District Court for the District of Columbia in the name of the United States against

a person who within the District of Columbia usurps, intrudes into, or unlawfully holds or

exercises, a franchise conferred by the United States or a public office of the United States, civil

or military. The proceedings shall be deemed a civil action.” D.C. Code § 16-3501.

       23.     The Attorney General of the United States or the U.S. Attorney may institute such

a proceeding in the name of the United States. Id. § 16-3502.

       24.     Where a defendant is found “to have usurped, intruded into, or unlawfully held or

exercised an office or franchise, the verdict shall be that he is guilty of the act or acts in question,

and judgment shall be rendered that he be ousted and excluded therefrom.” Id. § 16-3545.

                                   FACTUAL ALLEGATIONS

       25.     Before April 28, 2025, the CPB had five members sitting on its Board: the three

Defendants, Ruby Calvert, and Liz Sembler. The remaining four spots on its Board were vacant.

       26.     On April 28, 2025, the President removed each of the three Defendants from their

positions as board member of the CPB. Trent Morse, the Deputy Director of Presidential Personnel

for the Executive Office of the President, communicated the President’s removal of Defendants by

sending them an email on April 28, 2025, informing them that the President was removing them

effective immediately.

       27.     Since April 28, 2025, the Defendants have usurped their former offices as board

members of the CPB and continued to purport to act as board members.




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I.     Defendants Have Usurped Their Former Offices as Board Members of the CPB

       28.     For example, Defendants have continued to participate in CPB board meetings and

vote on business that comes before the CPB’s Board.

       29.     On May 2, 2025, the CPB held a board meeting. The audio recording of the meeting

posted on the CPB’s website reflects that Kaplan participated and voted on matters coming before

the Board; it is not clear from the recording whether the other two Defendants participated. See

CPB, Board of Directors, Meetings, May 2, 2025, https://perma.cc/S6HG-8K3Z.

       30.     On May 13, 2025, the CPB held a board meeting. The audio recording of the

meeting posted on the CPB’s website reflects that all three Defendants participated in the meeting

and voted on matters coming before the Board. See CPB, Board of Directors, Meetings, May 13,

2025, https://perma.cc/7KK6-3E5S.

       31.     On May 15, 2025, the CPB held a board meeting. At that meeting, the CPB Board

purported to adopt a resolution amending the by-laws of the CPB. The CPB’s website reflects that

the resolution was purportedly adopted with four votes in favor, and one absent. See CPB, Board

of Directors, Meetings, May 15, 2025, https://perma.cc/7FUW-7YPL.              Thus, at least two

Defendants, and possibly all three Defendants, participated in that meeting and voted to adopt the

resolution.

       32.     On June 10 and June 11, 2025, the CPB held a board meeting. The audio recording

of the meeting posted on the CPB’s website reflects that all three Defendants participated in the

meeting and voted on matters coming before the Board. See CPB, Board of Directors, Meetings,

June 10–11, 2025, https://perma.cc/6X9S-QQ7K.

       33.     Defendants continued to usurp these offices even after losing in court. As plaintiffs

in CPB v. Trump, Defendants filed a Motion for Temporary Restraining Order, which the parties

later agreed to convert to a Motion for Preliminary Injunction, in which they sought an order


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enjoining the government “from taking any steps to implement or give effect to” the “purported

removal” of Defendants. Prop. Order at 1, CPB v. Trump, ECF No. 2-3. On June 8, 2025, the

Court denied the motion. See Mem. Op. & Order, CPB v. Trump, ECF No. 32. Among other

things, the Court held that the Defendants here (plaintiffs in CPB v. Trump) “have failed to

demonstrate a likelihood of success on the merits” of their claim that the President lacked authority

to remove Defendants. Id. at 21. The Court explained that under the Public Broadcasting Act and

D.C. Nonprofit Corporation Act, “the President (as the appointing person) was authorized to

remove the three directors at the time he acted,” and that “the Court [was] unpersuaded” by

Defendants’ contrary arguments. Id. at 15.

       34.     Defendants acted as if the Court had ruled in their favor, instead of ruling against

them. Later that day, the CPB defiantly issued a press release stating that “the three individuals

whom the President purported to remove, Laura G. Ross, Thomas E. Rothman, and Diane Kaplan,

are, remain, and shall continue to be directors of the Board of the Corporation for Public

Broadcasting.” CPB, Press Release, Court Recognizes CPB’s Independence; Board Members

Remain (June 8, 2025), https://perma.cc/ZJ6N-VVZV. The press release did not acknowledge that

the court denied the motion for preliminary injunction and held that the Defendants were not likely

to succeed on the merits of their challenge to their removal.

       35.     The CPB’s website continues to list all three Defendants as members of the CPB

Board of Directors. See CPB, Board of Directors, https://perma.cc/YL9Y-ZKT7 (captured July

15, 2025).

II.    The President Lawfully Removed Defendants from the Board of the CPB

       36.     The President lawfully exercised his authority under the Public Broadcasting Act

and Article II of the Constitution to remove Defendants as board members of the CPB.




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       37.     The Public Broadcasting Act authorizes the President to appoint (with the advice

and consent of the Senate) the CPB’s board members and contains no language restricting the

President’s right to remove them. See 47 U.S.C. § 496(c)(1). The Public Broadcasting Act

therefore empowers the President to remove the CPB’s board members.

       38.     Ample authority, both longstanding and recent, establishes that the power to

appoint someone to a position presumptively carries with it the incident power of removal, absent

a clear restriction on that removal authority. At its base, “the power of removal [is] incident to the

power of appointment.” In re Hennen, 38 U.S. 230, 259 (1839) (holding that district court could

remove court clerk because it appointed the clerk). “Because of the background presumption that

the President may remove anyone he appoints, Congress must make it clear in a statute if it wishes

to restrict the President’s removal power.” Severino v. Biden, 71 F.4th 1038, 1044 (D.C. Cir.

2023). “[T]o ‘take away’ the power of at-will removal from an appointing officer, Congress must

use ‘very clear and explicit language.’” Kennedy v. Braidwood Mgmt., Inc., 606 U.S. ___, 2025

WL 1773628, at *13 (June 27, 2025) (quoting Shurtleff v. United States, 189 U.S. 311, 315 (1903)).

       39.     Beyond the general rule of interpretation that the power of removal is incident to

the power of appointment, the President’s legal authority to remove presidential appointees is

additionally rooted in Article II of the Constitution, which vests him with the Executive Power and

entrusts him to take care that the laws are faithfully executed. See Myers v. United States, 272

U.S. 52, 163-64 (1926).

       40.     These legal principles fully apply to the CPB. It is true that the Public Broadcasting

Act states that the CPB will be a nonprofit corporation and “not an agency or establishment of the

United States Government.” 47 U.S.C. § 396(b). But in considering whether a government-

created corporation is part of the government for purposes of separation of powers, courts apply a




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functional test that does not depend on whether Congress formally labeled the entity as a

corporation rather than a government agency.

          41.   The Supreme Court first applied this test in Lebron v. National Railroad Passenger

Corp., 513 U.S. 374 (1995). The Supreme Court held that the National Railroad Passenger

Corporation (commonly known as Amtrak) was “an agency or instrumentality of the United States

for the purpose of individual rights guaranteed against the Government by the Constitution,” even

though the federal statute creating Amtrak structured it as a corporation and provided that Amtrak

would not be a government agency. Id. at 391, 394. The Supreme Court held “that where, as here,

the Government creates a corporation by special law, for the furtherance of governmental

objectives, and retains for itself permanent authority to appoint a majority of the directors of that

corporation, the corporation is part of the Government for purposes of the First Amendment.” Id.

at 399.

          42.   Lebron involved a First Amendment claim, but the Supreme Court later applied

similar analysis to hold that Amtrak is also “a governmental entity for purposes of the

Constitution’s separation of powers provisions.” Dep’t of Transp. v. Ass’n of Am. R.Rs., 575 U.S.

43, 53-54 (2015).

          43.   Under this test, the CPB clearly qualifies as part of the government. First, the

Public Broadcasting Act “create[d]” the CPB “by special law.” Lebron, 513 U.S. at 399; see 47

U.S.C. § 396(b) (“There is authorized to be established a nonprofit corporation, to be known as

the ‘Corporation for Public Broadcasting.’”). Second, Congress created the CPB “for the

furtherance of governmental objectives.” Lebron, 513 U.S. at 599. The Public Broadcasting Act

lists those objectives, see 47 U.S.C. § 396(a), and prescribes specific mechanisms for the CPB to

advance those objectives, see, e.g., id. § 396(g), (k). Third, the federal government “retains for




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itself permanent authority to appoint a majority of the directors of” the CPB. Lebron, 513 U.S.

at 599. All directors of the CPB, not just a majority, are appointed by the President with the advice

and consent of the Senate. 47 U.S.C. § 396(c)(1).

       44.     Accordingly, the general legal principles establishing that the President has the

authority to remove presidential appointees absent a clear restriction on his removal authority

apply fully to the CPB.

       45.     Even if Defendants were correct that the CPB should be viewed as a purely private

D.C. nonprofit corporation, application of the D.C. Nonprofit Corporation Act would produce the

same result: the President lawfully removed the Defendants. That act sets the same default rule

for board members as the governing executive removal precedents: that the power to remove is

incident to the power to appoint. Specifically, the D.C. Nonprofit Corporation Act provides that

“[e]xcept as otherwise provided in the articles of incorporation or bylaws, a director who is

appointed by persons other than the members may be removed with or without cause by those

persons.” D.C. Code § 29-406.08(e). Under that default rule, because the CPB’s board members

are “appointed by” the President, they “may be removed with or without cause by” the President.

Id.

       46.     As of April 28, 2025, when the President removed the Defendants, the bylaws and

articles of incorporation of the CPB contained no provisions purporting to restrict the President’s

authority to remove board members.

       47.     To be sure, on May 15, 2025, the CPB Board purportedly amended the bylaws to

restrict the President’s authority to remove board members. See CPB, Board of Directors,

Meetings, May 15, 2025, https://perma.cc/7FUW-7YPL (purporting to adopt resolution amending

the bylaws); By-Laws of the Corporation for Public Broadcasting, As Amended May 15, 2025,




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§2.11 (purported amended bylaws stating “[n]o Director may be removed from the Board by any

person or authority, including the President of the United States, without a two-thirds vote of the

other Directors confirming such removal”). But that does not change the relevant analysis.

          48.   Defendants were removed on April 28, 2025, seventeen days before the purported

adoption of the amendment to the bylaws. Therefore, even if that amendment were duly adopted

and lawful, it could not have affected the validity of the President’s removal of Defendants on

April 28, 2025, because it was not then in effect. In other words, Defendants were lawfully

removed from the CPB Board long before the Board purportedly amended the bylaws.

          49.   Moreover, the amendment was purportedly adopted by the Board that included the

three Defendants, who had already been removed from the Board and were then usurping their

positions. See CPB, Board of Directors, Meetings, May 15, 2025, https://perma.cc/7FUW-7YPL

(stating that resolution to amend bylaws was adopted by “[f]our in favor, one absent”). That flaw

renders the purported amendment null and void.

          50.   Plus, the Public Broadcasting Act provides that the D.C. Nonprofit Corporation Act

shall govern the CPB only “to the extent consistent with this section [47 U.S.C. § 396].” 47 U.S.C.

§ 396(b). But by authorizing the President to appoint board members and not restricting his

removal authority, 47 U.S.C. § 396 itself authorizes the President to remove the board members.

See Braidwood, 2025 WL 1773628, at *13; Severino, 71 F.4th at 1044. Thus, to the extent that

the D.C. Nonprofit Corporation Act authorizes the CPB Board to restrict the President’s ability to

remove board members, it does not govern because it is not consistent with 47 U.S.C. § 396.

                                   CLAIM FOR RELIEF
                              Quo Warranto, D.C. Code § 16-3501

          51.   The United States incorporates the preceding paragraphs as if they were fully stated

herein.



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       52.     Under the quo warranto statute, “[a] quo warranto may be issued from the United

States District Court for the District of Columbia in the name of the United States against a person

who within the District of Columbia usurps, intrudes into, or unlawfully holds or exercises, a

franchise conferred by the United States or a public office of the United States, civil or military.”

D.C. Code § 16-3501. The U.S. Attorney may institute such a proceeding. Id. § 16-3502.

       53.     Defendants do not lawfully hold the office of CPB board member and have not held

that office since April 28, 2025, when the President removed them from that office.

       54.     Since April 28, 2025, Defendants have been acting, and continue to act, as

purported CPB board members, including by participating in board meetings, voting on matters

coming before the Board, and presenting themselves to the public as board members.

       55.     Therefore, Defendants are usurping and unlawfully holding or exercising the office

of CPB board member. Those offices are located within the District of Columbia, where the CPB

is based and conducts business.

       56.     The office of board member of the CPB is a “public office of the United States.”

D.C. Code § 16-3501. It is such an office because it was created by federal statute, which

established that board members are “appointed by the President, by and with the advice and

consent of the Senate.” 47 U.S.C. § 396(c)(1).

       57.     In addition, under standards set by the Supreme Court, the CPB is considered part

of the United States government because it is a corporation created by Congress to further

governmental objectives, and it is led by the Board whose members are appointed by the President

and confirmed by the Senate. See Lebron, 513 U.S. at 599; Ass’n of Am. R.Rs., 575 U.S.

at 53–54.




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       58.     The United States respectfully requests that the Court enter judgment that

Defendants “be ousted and excluded” from the office of board member of the CPB. Id. § 16-3545.

The Court should also grant appropriate ancillary relief, including return of any salary or payment

Defendants have unlawfully taken by virtue of their usurpation of office.

                                    PRAYER FOR RELIEF

       WHEREFORE, the United States respectfully requests that the Court issue an order:

       a.      Declaring that Defendants do not lawfully serve as board members of the
               Corporation for Public Broadcasting and have not lawfully served as board
               members since the President removed them on April 28, 2025;

       b.      Declaring that all official actions purportedly taken by Defendants as board
               members of the Corporation for Public Broadcasting after the President removed
               them on April 28, 2025, are null and void;

       c.      Vacating and setting aside any official actions purportedly taken by Defendants as
               board members of the Corporation for Public Broadcasting after the President
               removed them on April 28, 2025

       d.      Entering judgment that Defendants are ousted and excluded from the office of
               board member of the Corporation for Public Broadcasting;

       e.      Enjoining Defendants from serving or purporting to serve as board members of the
               Corporation for Public Broadcasting;

       f.      Ordering Defendants to refund the value of any salary or other compensation
               (monetary or otherwise) they have received on account of their purported service
               as board members of the Corporation for Public Broadcasting since the President
               removed them on April 28, 2025;

       g.      Awarding the United States its costs in this action;

       h.      Awarding any other relief that the Court deems just and proper.



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Respectfully submitted,

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Dated: July 15, 2025                       Attorneys for the United States of America




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